                    Case 18-33762            Doc 1       Filed 12/05/18 Entered 12/05/18 14:49:56                              Desc Main         12/05/18 2:48PM
                                                           Document     Page 1 of 55
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Renewd Homes, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5805 Rose Av., #6
                                  Countryside, IL 60525
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 1
                    Case 18-33762                Doc 1        Filed 12/05/18 Entered 12/05/18 14:49:56                             Desc Main         12/05/18 2:48PM

Debtor
                                                                Document     Page 2 of Case
                                                                                        55 number (if known)
          Renewd Homes, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                                                                                                              Shareholder of
     attach a separate list                       Debtor     Thomas S. O'Neill                                          Relationship              Debtor
                                                  District   N.D. Illinois                 When       6/22/18           Case number, if known     18 B 17811




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor
                                                            Document     Page 3 of Case
                                                                                    55 number (if known)
         Renewd Homes, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
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Debtor
                                                           Document     Page 4 of Case
                                                                                   55 number (if known)
          Renewd Homes, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 5, 2018
                                                  MM / DD / YYYY


                             X   /s/ Thomas S. O'Neill                                                   Thomas S. O'Neill
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   President




18. Signature of attorney    X   /s/ David P. Lloyd                                                       Date December 5, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 David P. Lloyd
                                 Printed name

                                 David P. Lloyd, Ltd.
                                 Firm name

                                 615B S. LaGrange Rd.
                                 La Grange, IL 60525
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     708-937-1264                  Email address      info@davidlloydlaw.com

                                 6183542 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Renewd Homes, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 5, 2018                        X /s/ Thomas S. O'Neill
                                                                       Signature of individual signing on behalf of debtor

                                                                       Thomas S. O'Neill
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                   Case 18-33762                            Doc 1              Filed 12/05/18 Entered 12/05/18 14:49:56                                                            Desc Main         12/05/18 2:48PM
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 Fill in this information to identify the case:

 Debtor name            Renewd Homes, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        2,301,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              3,683.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,304,683.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,778,317.81


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,938,808.79


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           4,717,126.60




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                  Case 18-33762                   Doc 1          Filed 12/05/18 Entered 12/05/18 14:49:56                       Desc Main            12/05/18 2:48PM
                                                                   Document     Page 7 of 55
 Fill in this information to identify the case:

 Debtor name         Renewd Homes, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase Bank                                              Checking                                                                 $3,683.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $3,683.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
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 Debtor         Renewd Homes, Inc.                                                            Case number (If known)
                Name




 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used     Current value of
           property                                       extent of           debtor's interest      for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                     1426 Maple, Western
                     Springs IL                           Fee simple                        $0.00                                        $699,000.00


           55.2.
                     10746 S. Talman Av.,
                     Chicago IL                           Fee simple                        $0.00                                        $422,000.00


           55.3.
                     436 Leitch Av.,
                     LaGrange IL                          Fee simple                        $0.00                                        $350,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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 Debtor         Renewd Homes, Inc.                                                           Case number (If known)
                Name

            55.4.
                     747 Arlington,
                     Riverside IL                         Fee simple                        $0.00                             $500,000.00


            55.5.
                     14800 Highland,
                     Orland Park IL                       Fee simple                        $0.00                             $330,000.00




 56.        Total of Part 9.                                                                                               $2,301,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
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                                                                       Document     Page 10 of 55
 Debtor          Renewd Homes, Inc.                                                                                  Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $3,683.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $2,301,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $3,683.00         + 91b.            $2,301,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,304,683.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
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 Fill in this information to identify the case:

 Debtor name         Renewd Homes, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Bill Biros                                     Describe debtor's property that is subject to a lien                   $24,128.77              $422,000.00
       Creditor's Name                                10746 S. Talman Av., Chicago IL
       10941 S. Washtenaw
       Chicago, IL 60655
       Creditor's mailing address                     Describe the lien
                                                      mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Finance of America
       2. Dave Lautenbach
       3. Dave Lewandowski
       4. Bill Biros
       5. Bob & Pam Persak
       6. Bob Persak, Sr.
       7. JoAnn Watze
       8. Shannon E Bauer
       Aronson
       9. Laurence Lautenbach

 2.2   Bob & Pam Persak                               Describe debtor's property that is subject to a lien                   $36,166.03                      $0.00
       Creditor's Name                                Open account RE: 10746 S. Talman
       13574 Cambridge Dr.
       Lemont, IL 60439
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                 Case 18-33762                    Doc 1          Filed 12/05/18 Entered 12/05/18 14:49:56                              Desc Main    12/05/18 2:48PM
                                                                  Document     Page 12 of 55
 Debtor       Renewd Homes, Inc.                                                                       Case number (if know)
              Name

                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Bob & Pam Persak                               Describe debtor's property that is subject to a lien                     $36,166.03    $422,000.00
       Creditor's Name                                10746 S. Talman Av., Chicago IL
       13574 Cambridge Dr.
       Lemont, IL 60439
       Creditor's mailing address                     Describe the lien
                                                      mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.4   Bob Persak Sr.                                 Describe debtor's property that is subject to a lien                     $24,110.68            $0.00
       Creditor's Name                                Open account RE: 10746 S. Talman
       13574 Cambridge Dr.
       Lemont, IL 60439
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Bob Persak, Sr.                                Describe debtor's property that is subject to a lien                     $24,110.68    $422,000.00




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 Debtor       Renewd Homes, Inc.                                                                       Case number (if know)
              Name

       Creditor's Name                                10746 S. Talman Av., Chicago IL
       3574 Cambridge Dr.
       Lemont, IL 60439
       Creditor's mailing address                     Describe the lien
                                                      mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.6   Dave Lautenbach                                Describe debtor's property that is subject to a lien                     $36,894.25    $422,000.00
       Creditor's Name                                10746 S. Talman Av., Chicago IL
       10733 White Tail Run
       Orland Park, IL 60467
       Creditor's mailing address                     Describe the lien
                                                      mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.7   Dave Lautenbach                                Describe debtor's property that is subject to a lien                     $34,132.60    $350,000.00
       Creditor's Name                                436 Leitch Av., LaGrange IL
       10733 White Tail Run
       Orland Park, IL 60467
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


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 Debtor       Renewd Homes, Inc.                                                                       Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Dave Lautenbach
       2. Ken Lautenbach II
       3. Finance of America
       4. Laurence Lautenbach

 2.8   Dave Lewandowski                               Describe debtor's property that is subject to a lien                      $60,321.92    $422,000.00
       Creditor's Name                                10746 S. Talman Av., Chicago IL
       10539 Misty Hill
       Orland Park, IL 60462
       Creditor's mailing address                     Describe the lien
                                                      mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.9   Ellott Aronson                                 Describe debtor's property that is subject to a lien                      $55,232.88    $330,000.00
       Creditor's Name                                14800 Highland, Orland Park IL
       250 West St.
       Apt 9E
       New York, NY 10013
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Ellott Aronson
       2. Fund That Flip
       3. Lautenbach Family Trust

 2.1
 0     Finance of America                             Describe debtor's property that is subject to a lien                     $145,000.00    $422,000.00




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 Debtor       Renewd Homes, Inc.                                                                       Case number (if know)
              Name

       Creditor's Name                                10746 S. Talman Av., Chicago IL
       1011 Warrenville Rd., Ste.
       325
       Lisle, IL 60532
       Creditor's mailing address                     Describe the lien
                                                      mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.1
 1     Finance of America                             Describe debtor's property that is subject to a lien                     $399,193.70    $350,000.00
       Creditor's Name                                436 Leitch Av., LaGrange IL
       1011 Warrenville Rd., Ste.
       325
       Lisle, IL 60532
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.7

 2.1
 2     Fund That Flip                                 Describe debtor's property that is subject to a lien                     $400,296.86    $500,000.00
       Creditor's Name                                747 Arlington, Riverside IL
       79 Madison Ave.
       New York, NY 10016
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



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 Debtor       Renewd Homes, Inc.                                                                       Case number (if know)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Fund That Flip
       2. Sherman Yang
       3. Jeff Gallichio

 2.1
 3     Fund That Flip                                 Describe debtor's property that is subject to a lien                     $197,556.16    $330,000.00
       Creditor's Name                                14800 Highland, Orland Park IL
       79 Madison Ave.
       New York, NY 10016
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.9

 2.1
 4     Fund That Flip, Inc.                           Describe debtor's property that is subject to a lien                     $590,000.00    $699,000.00
       Creditor's Name                                1426 Maple, Western Springs IL
       c/o Gingo Palumbo Law
       Group LLC
       4700 Rockside Rd., Suite
       440
       Independence, OH 44131
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Ken Lautenbach II
       2. Fund That Flip, Inc.
       3. Lautenbach Family Trust



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                                                                  Document     Page 17 of 55
 Debtor       Renewd Homes, Inc.                                                                       Case number (if know)
              Name

 2.1
 5     Jeff Gallichio                                 Describe debtor's property that is subject to a lien                     $107,771.21    $500,000.00
       Creditor's Name                                747 Arlington, Riverside IL
       23313 Sunbrust Point
       Frankfort, IL 60423
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.12

 2.1
 6     JoAnn Watze                                    Describe debtor's property that is subject to a lien                      $24,086.58    $422,000.00
       Creditor's Name                                10746 S. Talman Av., Chicago IL
       4131 40th Ave, S.
       Minneapolis, MN 55406
       Creditor's mailing address                     Describe the lien
                                                      mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.1
 7     Ken Lautenbach II                              Describe debtor's property that is subject to a lien                      $31,526.03    $699,000.00
       Creditor's Name                                1426 Maple, Western Springs IL
       10635 White Tail Run
       Orland Park, IL 60467
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)


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 Debtor       Renewd Homes, Inc.                                                                       Case number (if know)
              Name

       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.14

 2.1
 8     Ken Lautenbach II                              Describe debtor's property that is subject to a lien                     $107,101.37    $350,000.00
       Creditor's Name                                436 Leitch Av., LaGrange IL
       10635 White Tail Run
       Orland Park, IL 60467
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.7

 2.1
 9     Laurence Lautenbach                            Describe debtor's property that is subject to a lien                      $51,496.00    $422,000.00
       Creditor's Name                                10746 S. Talman Av., Chicago IL
       18411 S. 115th Ave
       Chicago, IL 60647
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.1

 2.2
 0     Laurence Lautenbach                            Describe debtor's property that is subject to a lien                      $56,608.22    $350,000.00




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 Debtor       Renewd Homes, Inc.                                                                       Case number (if know)
              Name

       Creditor's Name                                436 Leitch Av., LaGrange IL
       18411 S. 115th Ave
       Chicago, IL 60647
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.7

 2.2
 1     Lautenbach Family Trust                        Describe debtor's property that is subject to a lien                     $114,356.60    $699,000.00
       Creditor's Name                                1426 Maple, Western Springs IL
       18410 S. 115 Ave.
       Orland Park, IL 60467
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       Specified on line 2.14

 2.2
 2     Lautenbach Family Trust                        Describe debtor's property that is subject to a lien                      $55,145.21    $330,000.00
       Creditor's Name                                14800 Highland, Orland Park IL
       18410 S. 115th Ave.
       Orland Park, IL 60467
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number




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 Debtor       Renewd Homes, Inc.                                                                       Case number (if know)
              Name

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.9

 2.2
 3      Shannon E Bauer Aronson                       Describe debtor's property that is subject to a lien                      $47,968.22        $422,000.00
        Creditor's Name                               10746 S. Talman Av., Chicago IL
        250 West St. Apt 9E
        New York, NY 10013
        Creditor's mailing address                    Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

 2.2
 4      Sherman Yang                                  Describe debtor's property that is subject to a lien                     $118,947.81        $500,000.00
        Creditor's Name                               747 Arlington, Riverside IL
        4615 Center Blvd.,
        Apt 1904
        Long Island City, NY 11109
        Creditor's mailing address                    Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.12

                                                                                                                               $2,778,317.8
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         1

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.


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 Debtor       Renewd Homes, Inc.                                                                 Case number (if know)
              Name

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 11 of 11
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                                                                  Document     Page 22 of 55
 Fill in this information to identify the case:

 Debtor name         Renewd Homes, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $5,494.52
           Adam Kiwior                                                          Contingent
           11828 Brooke Ct.                                                     Unliquidated
           Frankfort, IL 60423                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 4412 Gilbert Ave
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $2,979.42
           Ainslee Lautenbach                                                   Contingent
           10733 White Tail Run                                                 Unliquidated
           Orland Park, IL 60467                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 1426 Maple
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $7,078.23
           Ainslee Lautenbach                                                   Contingent
           10733 White Tail Run                                                 Unliquidated
           Orland Park, IL 60467                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 10746 S. Talman
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $15,934.99
           America Expresss Head Office                                         Contingent
           World Financial Center                                               Unliquidated
           200 Vesey Street                                                     Disputed
           New York, NY 10285
                                                                             Basis for the claim:    Open account
           Date(s) debt was incurred
           Last 4 digits of account number      2005                         Is the claim subject to offset?       No     Yes




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 Debtor       Renewd Homes, Inc.                                                                      Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $23,206.58
          Bill Biros                                                            Contingent
          10941 S. Washtenaw                                                    Unliquidated
          Chicago, IL 60655                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 4412 Gilbert Ave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $22,465.21
          Bob Persak Sr.                                                        Contingent
          13755 Golden Oak Dr.                                                  Unliquidated
          Homer Glen, IL 60491                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 4412 Gilbert Ave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $170,506.85
          Chicago Housing Inc.                                                  Contingent
          4615 Center Blvd                                                      Unliquidated
          Apt 1904                                                              Disputed
          Long Island City, NY 11109
                                                                             Basis for the claim:    Open account RE: 4412 Gilbert Ave
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $44,783.56
          DAS Properties                                                        Contingent
          PO Box 9590                                                           Unliquidated
          Naperville, IL 60567                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 4412 Gilbert Ave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $73,462.47
          DAS Properties                                                        Contingent
          PO Box 9590                                                           Unliquidated
          Naperville, IL 60567                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: Oakwood
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $55,726.03
          David Lewandowski                                                     Contingent
          10539 Misty Hill                                                      Unliquidated
          Orland Park, IL 60462                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 14800 Highland
          Last 4 digits of account number       0000
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $16,095.66
          Discover                                                              Contingent
          PO Box 15316                                                          Unliquidated
          Wilmington, DE 19850                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number       2308
                                                                             Is the claim subject to offset?     No       Yes




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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $13,303.97
          Faith Baptist Church                                                  Contingent
          1280 Armour Rd.                                                       Unliquidated
          Bourbonnais, IL 60914                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 10746 S. Talman
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,467.42
          Faith Baptist Church                                                  Contingent
          1280 Armour Rd.                                                       Unliquidated
          Bourbonnais, IL 60914                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 10746 S. Talman
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $602,931.32
          Fund That Flip, Inc.                                                  Contingent
          c/o Gingo Palumbo Law Group LLC                                       Unliquidated
          4700 Rockside Rd., Suite 440
          Independence, OH 44131                                                Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Guaranty of business debt
          Last 4 digits of account number       2784                         Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,234.74
          Gary Davidson                                                         Contingent
          13963 S. Bell Rd                                                      Unliquidated
          Homer Glen, IL 60491                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 10746 S. Talman
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,784.30
          Home Depot                                                            Contingent
          Home Depot Credit Services                                            Unliquidated
          PO Box 790328                                                         Disputed
          Saint Louis, MO 63179
                                                                             Basis for the claim:    Open account
          Date(s) debt was incurred
          Last 4 digits of account number       2831                         Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,979.42
          Hope Lautenbach                                                       Contingent
          10733 White Tail Run                                                  Unliquidated
          Orland Park, IL 60467                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 1426 Maple
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,078.23
          Hope Lautenbach                                                       Contingent
          10733 White Tail Run                                                  Unliquidated
          Orland Park, IL 60467                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 10746 S. Talman
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,486.30
          James P. Mulder                                                       Contingent
          13225 Birds Eye Ct.                                                   Unliquidated
          Plainfield, IL 60585                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 14800 Highland
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $25,000.00
          Jeannette Leavitt                                                     Contingent
          5730 S. Kenwood Ave.                                                  Unliquidated
          Chicago, IL 60637                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: Oakwood
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $24,086.58
          JoAnn Watze & Nancy Lutz                                              Contingent
          4131 40th Ave, S.                                                     Unliquidated
          Minneapolis, MN 55406                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 10746 S. Talman
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $27,682.19
          JoAnn Watze & Nancy Lutz                                              Contingent
          4131 40th Ave, S.                                                     Unliquidated
          Minneapolis, MN 55406                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 14800 Highland
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,000.00
          Jonathan Lautenbach                                                   Contingent
          10733 White Tail Run                                                  Unliquidated
          Orland Park, IL 60467                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 1426 Maple
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,565.48
          Jonathan Lautenbach                                                   Contingent
          10733 White Tail Run                                                  Unliquidated
          Orland Park, IL 60467                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account 1426 Maple
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,877.52
          Kenneth Lauten III                                                    Contingent
          15112 W. 102nd Ave.                                                   Unliquidated
          Dyer, IN 46311                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 4412 Gilbert Ave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $160,563.20
          Lautenbach Family Trust                                               Contingent
          18410 S. 115 Ave.                                                     Unliquidated
          Orland Park, IL 60467                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 4412 Gilbert Ave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Liangmo Yang                                                          Contingent
          20 Donatello Ct.                                                      Unliquidated
          Monmouth Junction, NJ 08852                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 4412 Gilbert Ave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Liberty Mutual Insurance                                              Contingent
          c/o The Leviton Law Firm, Ltd.
                                                                                Unliquidated
          3 Golf Center, Ste. 361
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    open account
          Last 4 digits of account number       9017
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Linda O'Neill                                                         Contingent
          c/o Kulerski Cornelison Law Firm
                                                                                Unliquidated
          1S 660 Midwest Av. #320
          Oakbrook Terrace, IL 60181                                            Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Domestic support
          Last 4 digits of account number       2345                         Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $57,715.07
          Mary Wallace                                                          Contingent
          9401 Sproat Ave                                                       Unliquidated
          Oak Lawn, IL 60453                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 1426 Maple
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $51,496.00
          Meghan Mulvihill                                                      Contingent
          2445 Cherry Lane                                                      Unliquidated
          Northbrook, IL 60062                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 10746 S. Talman
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,481.54
          Menards                                                               Contingent
          HSBC Retail Services                                                  Unliquidated
          P.O. Box 17602                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account
          Last 4 digits of account number       6582
                                                                             Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,500.00
          Paul Stanton                                                          Contingent
          157 W. Main St.,                                                      Unliquidated
          Apt 312                                                               Disputed
          Whitewater, WI 53190
                                                                             Basis for the claim:    Open account RE: 747 Arlington
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,979.42
          Pieter Lautenbach                                                     Contingent
          10733 White Tail Run                                                  Unliquidated
          Orland Park, IL 60467                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 1426 Maple
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,078.23
          Pieter Lautenbach                                                     Contingent
          10733 White Tail Run                                                  Unliquidated
          Orland Park, IL 60467                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 10746 S. Talman
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $243,000.00
          RealtyShares                                                          Contingent
          525 Market St., Ste. 2800                                             Unliquidated
          San Francisco, CA 94105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 4412 Gilbert Ave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,034.95
          Robert Anglea                                                         Contingent
          4742 N. 2250W Rd.                                                     Unliquidated
          Bourbonnais, IL 60914                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 10746 S. Talman
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,451.74
          Robert Anglea                                                         Contingent
          4742 N. 2250W Rd.                                                     Unliquidated
          Bourbonnais, IL 60914                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 14800 Highland
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $24,978.63
          Sam Marzo                                                             Contingent
          13551 Cambridge Dr.                                                   Unliquidated
          Lemont, IL 60439                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 4412 Gilbert Ave
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $16,442.05
          Sam Marzo                                                             Contingent
          13551 Cambridge Dr.                                                   Unliquidated
          Lemont, IL 60439                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 14800 Highland
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Schilling Lumber                                                      Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Open account RE: 4412 Gilbert Ave
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Schilling Lumber                                                      Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Open account 1426 Maple
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Schilling Lumber                                                      Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Open account RE: 10746 S. Talman
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Schilling Lumber                                                      Contingent
          9901 W. 191st St.                                                     Unliquidated
          Mokena, IL 60448                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    open account
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $34,224.66
          Scott Netterville                                                     Contingent
          C/O Faith Baptist Church                                              Unliquidated
          1280 Armor Rd.                                                        Disputed
          Bourbonnais, IL 60914
                                                                             Basis for the claim:    Open account RE: 1426 Maple
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,206.84
          Stacy O'Neill                                                         Contingent
          2925 E. Grange Ave.                                                   Unliquidated
          Cudahy, WI 53110                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 747 Arlington
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $11,093.70
           Steve Banaszek                                                       Contingent
           14413 Rathfarn Dr.                                                   Unliquidated
           Homer Glen, IL 60491                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: Oakwood
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.48      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $25,242.40
           Trevell Lewis, Chi Muni-Lewis                                        Contingent
           c/o Keil M. Larson
                                                                                Unliquidated
           35 E. Wacker Drive, Ste. 650
           Chicago, IL 60601                                                    Disputed

           Date(s) debt was incurred                                         Basis for the claim:    Open account
           Last 4 digits of account number      2896                         Is the claim subject to offset?        No      Yes

 3.49      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $14,732.36
           Visa                                                                 Contingent
           USPS FCU                                                             Unliquidated
           P.O. Box 672051                                                      Disputed
           Dallas, TX 75267-2021
                                                                             Basis for the claim:    Open account
           Date(s) debt was incurred
           Last 4 digits of account number      7880                         Is the claim subject to offset?        No      Yes


 3.50      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $18,072.35
           Visa                                                                 Contingent
           USPS FCU                                                             Unliquidated
           P.O. Box 672051                                                      Disputed
           Dallas, TX 75267-2021
                                                                             Basis for the claim:    Open account
           Date(s) debt was incurred
           Last 4 digits of account number      6835                         Is the claim subject to offset?        No      Yes


 3.51      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $50,304.66
           William McDermott                                                    Contingent
           1161 Hickory Creek Dr.                                               Unliquidated
           New Lenox, IL 60451                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Open account RE: 4412 Gilbert Ave
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any
 4.1       Wiedner & McAuliffe, Ltd.
           1 N. Franklin St.                                                                          Line     3.14                                    2784
           Floor 19
                                                                                                             Not listed. Explain
           Chicago, IL 60606


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                           0.00
 5b. Total claims from Part 2                                                                            5b.    +     $                   1,938,808.79

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 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $              1,938,808.79




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 Fill in this information to identify the case:

 Debtor name         Renewd Homes, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Contract for sale of
             lease is for and the nature of               10726 S. Talman Av.,
             the debtor's interest                        Chicago IL 60655

                  State the term remaining                                           Daniel Knibbs & Chelsea Rutledge
                                                                                     c/o Sheila Yakutis/ReMax Synergy
             List the contract number of any                                         1507 S. Harlem Av.
                   government contract                                               Orland Park, IL 60462




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Renewd Homes, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Renewd Homes,                                                                       Fund That Flip, Inc.               D
             Inc.                                                                                                                   E/F       3.14
                                                                                                                                    G




    2.2      Renewd Homes,                                                                       Adam Kiwior                        D
             Inc.                                                                                                                   E/F       3.1
                                                                                                                                    G




    2.3      Renewd Homes,                                                                       Ainslee Lautenbach                 D
             Inc.                                                                                                                   E/F       3.2
                                                                                                                                    G




    2.4      Renewd Homes,                                                                       Bill Biros                         D
             Inc.                                                                                                                   E/F       3.5
                                                                                                                                    G




    2.5      Renewd Homes,                                                                       Bob & Pam Persak                   D   2.2
             Inc.                                                                                                                   E/F
                                                                                                                                    G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Renewd Homes,                                                                     Bob Persak Sr.               D
             Inc.                                                                                                           E/F       3.6
                                                                                                                            G




    2.7      Renewd Homes,                                                                     Bob Persak Sr.               D   2.4
             Inc.                                                                                                           E/F
                                                                                                                            G




    2.8      Renewd Homes,                                                                     Chicago Housing Inc.         D
             Inc.                                                                                                           E/F       3.7
                                                                                                                            G




    2.9      Renewd Homes,                                                                     DAS Properties               D
             Inc.                                                                                                           E/F       3.8
                                                                                                                            G




    2.10     Renewd Homes,                                                                     DAS Properties               D
             Inc.                                                                                                           E/F       3.9
                                                                                                                            G




    2.11     Renewd Homes,                                                                     David Lewandowski            D
             Inc.                                                                                                           E/F       3.10
                                                                                                                            G




    2.12     Renewd Homes,                                                                     Faith Baptist Church         D
             Inc.                                                                                                           E/F       3.12
                                                                                                                            G




    2.13     Renewd Homes,                                                                     Faith Baptist Church         D
             Inc.                                                                                                           E/F       3.13
                                                                                                                            G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Renewd Homes,                                                                     Gary Davidson                D
             Inc.                                                                                                           E/F       3.15
                                                                                                                            G




    2.15     Renewd Homes,                                                                     Hope Lautenbach              D
             Inc.                                                                                                           E/F       3.17
                                                                                                                            G




    2.16     Renewd Homes,                                                                     Hope Lautenbach              D
             Inc.                                                                                                           E/F       3.18
                                                                                                                            G




    2.17     Renewd Homes,                                                                     James P. Mulder              D
             Inc.                                                                                                           E/F       3.19
                                                                                                                            G




    2.18     Renewd Homes,                                                                     Jeannette Leavitt            D
             Inc.                                                                                                           E/F       3.20
                                                                                                                            G




    2.19     Renewd Homes,                                                                     JoAnn Watze &                D
             Inc.                                                                              Nancy Lutz                   E/F       3.21
                                                                                                                            G




    2.20     Renewd Homes,                                                                     JoAnn Watze &                D
             Inc.                                                                              Nancy Lutz                   E/F       3.22
                                                                                                                            G




    2.21     Renewd Homes,                                                                     Jonathan Lautenbach          D
             Inc.                                                                                                           E/F       3.23
                                                                                                                            G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     Renewd Homes,                                                                     Jonathan Lautenbach          D
             Inc.                                                                                                           E/F       3.24
                                                                                                                            G




    2.23     Renewd Homes,                                                                     Kenneth Lauten III           D
             Inc.                                                                                                           E/F       3.25
                                                                                                                            G




    2.24     Renewd Homes,                                                                     Lautenbach Family            D
             Inc.                                                                              Trust                        E/F       3.26
                                                                                                                            G




    2.25     Renewd Homes,                                                                     Liangmo Yang                 D
             Inc.                                                                                                           E/F       3.27
                                                                                                                            G




    2.26     Renewd Homes,                                                                     Mary Wallace                 D
             Inc.                                                                                                           E/F       3.30
                                                                                                                            G




    2.27     Renewd Homes,                                                                     Meghan Mulvihill             D
             Inc.                                                                                                           E/F       3.31
                                                                                                                            G




    2.28     Renewd Homes,                                                                     Paul Stanton                 D
             Inc.                                                                                                           E/F       3.33
                                                                                                                            G




    2.29     Renewd Homes,                                                                     Pieter Lautenbach            D
             Inc.                                                                                                           E/F       3.34
                                                                                                                            G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.30     Renewd Homes,                                                                     Pieter Lautenbach            D
             Inc.                                                                                                           E/F       3.35
                                                                                                                            G




    2.31     Renewd Homes,                                                                     RealtyShares                 D
             Inc.                                                                                                           E/F       3.36
                                                                                                                            G




    2.32     Renewd Homes,                                                                     Robert Anglea                D
             Inc.                                                                                                           E/F       3.37
                                                                                                                            G




    2.33     Renewd Homes,                                                                     Robert Anglea                D
             Inc.                                                                                                           E/F       3.38
                                                                                                                            G




    2.34     Renewd Homes,                                                                     Sam Marzo                    D
             Inc.                                                                                                           E/F       3.39
                                                                                                                            G




    2.35     Renewd Homes,                                                                     Sam Marzo                    D
             Inc.                                                                                                           E/F       3.40
                                                                                                                            G




    2.36     Renewd Homes,                                                                     Schilling Lumber             D
             Inc.                                                                                                           E/F       3.41
                                                                                                                            G




    2.37     Renewd Homes,                                                                     Schilling Lumber             D
             Inc.                                                                                                           E/F       3.42
                                                                                                                            G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.38     Renewd Homes,                                                                     Schilling Lumber             D
             Inc.                                                                                                           E/F       3.43
                                                                                                                            G




    2.39     Renewd Homes,                                                                     Scott Netterville            D
             Inc.                                                                                                           E/F       3.45
                                                                                                                            G




    2.40     Renewd Homes,                                                                     Stacy O'Neill                D
             Inc.                                                                                                           E/F       3.46
                                                                                                                            G




    2.41     Renewd Homes,                                                                     Steve Banaszek               D
             Inc.                                                                                                           E/F       3.47
                                                                                                                            G




    2.42     Renewd Homes,                                                                     Trevell Lewis, Chi           D
             Inc.                                                                              Muni-Lewis                   E/F       3.48
                                                                                                                            G




    2.43     Renewd Homes,                                                                     William McDermott            D
             Inc.                                                                                                           E/F       3.51
                                                                                                                            G




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 Fill in this information to identify the case:

 Debtor name         Renewd Homes, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                     Gross revenue
       which may be a calendar year                                                            Check all that apply                   (before deductions and
                                                                                                                                      exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                     $1.00
       From 1/01/2018 to Filing Date                                                                        Amount is
                                                                                                            undetermined and
                                                                                                   Other    debtor is researching


       For prior year:                                                                             Operating a business                                     $1.00
       From 1/01/2017 to 12/31/2017                                                                         Amount is
                                                                                                            undetermined and
                                                                                                   Other    debtor is researching


       For year before that:                                                                       Operating a business                                     $1.00
       From 1/01/2016 to 12/31/2016                                                                         Amount is
                                                                                                            undetermined and
                                                                                                   Other    debtor is researching

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue      Gross revenue from
                                                                                                                                      each source
                                                                                                                                      (before deductions and
                                                                                                                                      exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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           None.

       Creditor's Name and Address                                          Dates                Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Thomas O'Neill                                               1/18-12/18                        Unknown            Debtor paid expenses of its
                                                                                                                                 owner, Thomas O'Neill, and
               Owner & President                                                                                                 Thomas O'Neill paid expenses
                                                                                                                                 of the Debtor. These amounts
                                                                                                                                 have not been computed.

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Fund That Flip, Inc. vs                           Contract                   U.S. District Court N.D.                     Pending
               Renewd Homes                                                                 Illinois                                     On appeal
               18 CF 02784
                                                                                                                                         Concluded

       7.2.    Trevell Lewis, Chii                               Contract                   Circuit Court of Cook                        Pending
               Muni-Lewis, Wellington                                                       County                                       On appeal
               Wilson                                                                       Richard J. Daley Center
                                                                                                                                         Concluded
               vs. Renewd Homes                                                             50 W. Washington St.
               17 L 012896                                                                  Chicago, IL 60602


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                       Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.    David P. Lloyd, Ltd.
                615B S. LaGrange Rd.
                La Grange, IL 60525                                  Attorney Fees of $2,000 & Costs of $335                   11/30/18                 $2,335.00

                Email or website address
                info@davidlloydlaw.com

                Who made the payment, if not debtor?
                Thomas O'Neill



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers          Total amount or
                                                                                                                         were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


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 Debtor      Renewd Homes, Inc.                                                                         Case number (if known)




           None.

               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.1 Bona Fide Purchaser
       .                                                         4412 Gilbert, Western Springs IL                        8/17/18                     $695,000.00

               Relationship to debtor



       13.2 Bona Fide Purchaser
       .                                                         18113 Oakwood, Lansing IL                               3/27/18                     $162,000.00

               Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       George S. Smith, Inc.                                                                                                      2010-2018
                    11508 W. 183rd Place
                    Orland Park, IL 60467

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

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 Debtor      Renewd Homes, Inc.                                                                         Case number (if known)



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Thomas O'Neill                                                                                     President                             100




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 5, 2018

 /s/ Thomas S. O'Neill                                                  Thomas S. O'Neill
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes


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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re       Renewd Homes, Inc.                                                                               Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,000.00
             Prior to the filing of this statement I have received                                        $                     2,000.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 All services required by local Rule.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor(s) in any adversary proceeding.
                                                                          CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 5, 2018                                                            /s/ David P. Lloyd
     Date                                                                        David P. Lloyd
                                                                                 Signature of Attorney
                                                                                 David P. Lloyd, Ltd.
                                                                                 615B S. LaGrange Rd.
                                                                                 La Grange, IL 60525
                                                                                 708-937-1264 Fax: 708-937-1265
                                                                                 info@davidlloydlaw.com
                                                                                 Name of law firm




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 In re      Renewd Homes, Inc.                                                                          Case No.
                                                                                  Debtor(s)             Chapter    7




                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                        Number of Creditors:                                 56




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:       December 5, 2018                                          /s/ Thomas S. O'Neill
                                                                       Thomas S. O'Neill/President
                                                                       Signer/Title




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                      Adam Kiwior
                      11828 Brooke Ct.
                      Frankfort, IL 60423


                      Ainslee Lautenbach
                      10733 White Tail Run
                      Orland Park, IL 60467


                      America Expresss Head Office
                      World Financial Center
                      200 Vesey Street
                      New York, NY 10285


                      Bill Biros
                      10941 S. Washtenaw
                      Chicago, IL 60655


                      Bob & Pam Persak
                      13574 Cambridge Dr.
                      Lemont, IL 60439


                      Bob Persak Sr.
                      13755 Golden Oak Dr.
                      Homer Glen, IL 60491


                      Bob Persak Sr.
                      13574 Cambridge Dr.
                      Lemont, IL 60439


                      Bob Persak, Sr.
                      3574 Cambridge Dr.
                      Lemont, IL 60439


                      Chicago Housing Inc.
                      4615 Center Blvd
                      Apt 1904
                      Long Island City, NY 11109


                      Daniel Knibbs & Chelsea Rutledge
                      c/o Sheila Yakutis/ReMax Synergy
                      1507 S. Harlem Av.
                      Orland Park, IL 60462
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                  DAS Properties
                  PO Box 9590
                  Naperville, IL 60567


                  Dave Lautenbach
                  10733 White Tail Run
                  Orland Park, IL 60467


                  Dave Lewandowski
                  10539 Misty Hill
                  Orland Park, IL 60462


                  David Lewandowski
                  10539 Misty Hill
                  Orland Park, IL 60462


                  Discover
                  PO Box 15316
                  Wilmington, DE 19850


                  Ellott Aronson
                  250 West St.
                  Apt 9E
                  New York, NY 10013


                  Faith Baptist Church
                  1280 Armour Rd.
                  Bourbonnais, IL 60914


                  Finance of America
                  1011 Warrenville Rd., Ste. 325
                  Lisle, IL 60532


                  Fund That Flip
                  79 Madison Ave.
                  New York, NY 10016


                  Fund That Flip, Inc.
                  c/o Gingo Palumbo Law Group LLC
                  4700 Rockside Rd., Suite 440
                  Independence, OH 44131


                  Gary Davidson
                  13963 S. Bell Rd
                  Homer Glen, IL 60491
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                  Home Depot
                  Home Depot Credit Services
                  PO Box 790328
                  Saint Louis, MO 63179


                  Hope Lautenbach
                  10733 White Tail Run
                  Orland Park, IL 60467


                  James P. Mulder
                  13225 Birds Eye Ct.
                  Plainfield, IL 60585


                  Jeannette Leavitt
                  5730 S. Kenwood Ave.
                  Chicago, IL 60637


                  Jeff Gallichio
                  23313 Sunbrust Point
                  Frankfort, IL 60423


                  JoAnn Watze
                  4131 40th Ave, S.
                  Minneapolis, MN 55406


                  JoAnn Watze & Nancy Lutz
                  4131 40th Ave, S.
                  Minneapolis, MN 55406


                  Jonathan Lautenbach
                  10733 White Tail Run
                  Orland Park, IL 60467


                  Ken Lautenbach II
                  10635 White Tail Run
                  Orland Park, IL 60467


                  Kenneth Lauten III
                  15112 W. 102nd Ave.
                  Dyer, IN 46311


                  Laurence Lautenbach
                  18411 S. 115th Ave
                  Chicago, IL 60647
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                  Lautenbach Family Trust
                  18410 S. 115 Ave.
                  Orland Park, IL 60467


                  Lautenbach Family Trust
                  18410 S. 115th Ave.
                  Orland Park, IL 60467


                  Liangmo Yang
                  20 Donatello Ct.
                  Monmouth Junction, NJ 08852


                  Liberty Mutual Insurance
                  c/o The Leviton Law Firm, Ltd.
                  3 Golf Center, Ste. 361


                  Linda O'Neill
                  c/o Kulerski Cornelison Law Firm
                  1S 660 Midwest Av. #320
                  Oakbrook Terrace, IL 60181


                  Mary Wallace
                  9401 Sproat Ave
                  Oak Lawn, IL 60453


                  Meghan Mulvihill
                  2445 Cherry Lane
                  Northbrook, IL 60062


                  Menards
                  HSBC Retail Services
                  P.O. Box 17602


                  Paul Stanton
                  157 W. Main St.,
                  Apt 312
                  Whitewater, WI 53190


                  Pieter Lautenbach
                  10733 White Tail Run
                  Orland Park, IL 60467


                  RealtyShares
                  525 Market St., Ste. 2800
                  San Francisco, CA 94105
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                  Robert Anglea
                  4742 N. 2250W Rd.
                  Bourbonnais, IL 60914


                  Sam Marzo
                  13551 Cambridge Dr.
                  Lemont, IL 60439


                  Schilling Lumber



                  Schilling Lumber
                  9901 W. 191st St.
                  Mokena, IL 60448


                  Scott Netterville
                  C/O Faith Baptist Church
                  1280 Armor Rd.
                  Bourbonnais, IL 60914


                  Shannon E Bauer Aronson
                  250 West St. Apt 9E
                  New York, NY 10013


                  Sherman Yang
                  4615 Center Blvd.,
                  Apt 1904
                  Long Island City, NY 11109


                  Stacy O'Neill
                  2925 E. Grange Ave.
                  Cudahy, WI 53110


                  Steve Banaszek
                  14413 Rathfarn Dr.
                  Homer Glen, IL 60491


                  Trevell Lewis, Chi Muni-Lewis
                  c/o Keil M. Larson
                  35 E. Wacker Drive, Ste. 650
                  Chicago, IL 60601
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                  Visa
                  USPS FCU
                  P.O. Box 672051
                  Dallas, TX 75267-2021


                  Wiedner & McAuliffe, Ltd.
                  1 N. Franklin St.
                  Floor 19
                  Chicago, IL 60606


                  William McDermott
                  1161 Hickory Creek Dr.
                  New Lenox, IL 60451
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Renewd Homes, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 December 5, 2018                                                    /s/ David P. Lloyd
 Date                                                                David P. Lloyd
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Renewd Homes, Inc.
                                                                     David P. Lloyd, Ltd.
                                                                     615B S. LaGrange Rd.
                                                                     La Grange, IL 60525
                                                                     708-937-1264 Fax:708-937-1265
                                                                     info@davidlloydlaw.com




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